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                                 UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF NEW YORK


 KNIGHT FIRST AMENDMENT
 INSTITUTE AT COLUMBIA
 UNIVERSITY,

                   Plaintiff,
                                                          Civil Action No. 1:23-cv-2513
                                                                           ________
        v.

 U.S. DEPARTMENT OF STATE,

                   Defendant.


                                COMPLAINT FOR INJUNCTIVE RELIEF

                                        INTRODUCTION

       1.      This lawsuit under the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, seeks

the immediate release of records from the U.S. Department of State concerning the influence of

foreign state actors over the development and enforcement of online platforms’ content moderation

policies abroad.

       2.      Over the last several years, the world’s most popular online platforms have come

under increasing pressure from foreign state actors to suppress lawful speech and prioritize state-

endorsed narratives on their services. For example, in India—a country with nearly 1.4 billion

people—the government has repeatedly pressured platforms to suppress speech with which it

disagrees, in one instance raiding Twitter’s offices in response to supposed misinformation tweeted

by the government’s political opponents. See Lauren Frayer & Shannon Bond, India And Tech

Companies Clash Over Censorship, Privacy And ‘Digital Colonialism’, Nat’l Pub. Radio (June

10, 2021), https://perma.cc/5RXG-N4G8. In 2020, then–President of the Philippines Rodrigo

Duterte publicly lashed out at Facebook for removing a network of fake accounts the company had

linked to the military and police, stating, “We allow you to operate here hoping you could help us
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. . . what would be the point of allowing you to continue if you can’t help us?” See Phillipines’

Duterte calls out Facebook after accounts taken down, Reuters (Sept. 28, 2020),

https://perma.cc/CN3L-2ZTV. The following year, Brazilian President Jair Bolsonaro issued rules

prohibiting social media platforms from removing certain content, including his own false claims

that he could lose the 2022 election only if the vote were rigged. See Jack Nicas, Brazil’s President

Bans Social Networks From Removing Some Posts, N.Y. Times (Sept. 9, 2021),

https://perma.cc/Q6ZE-RGHQ.

       3.      Because most of these platforms are based in the United States, U.S.-based

companies effectively play a central role in the governance of online expression around the globe.

       4.      State efforts to pressure online platforms to suppress lawful speech, or to publish

state-endorsed narratives, raise significant human rights concerns. Under Article 19 of the

Universal Declaration of Human Rights and other international and regional human rights

instruments, governments have an obligation to respect freedom of expression. Despite this

obligation, a number of governments have attempted to coerce online platforms into censoring

disfavored speech or publishing government propaganda. This practice threatens to distort public

discourse to anti-democratic ends, stifle the free flow of independent news and information to the

public, and insulate political leaders from public criticism and dissent in the international

community.

       5.      The executive branch has identified the promotion of internet freedom around the

world as a top priority of its foreign policy, but there is little public information regarding whether

or how it has advised or supported online platforms in resisting foreign state pressure to facilitate

online repression. The State Department recently announced the formation of its first Bureau of

Cyberspace and Digital Policy, which “leads and coordinates the Department’s work on




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cyberspace and digital diplomacy to encourage responsible state behavior in cyberspace and

advance policies that protect the integrity and security of the infrastructure of the Internet, serve

U.S. interests, promote competitiveness, and uphold democratic values.” See U.S. Dep’t of State,

Bureau of Cyberspace and Digital Policy, https://www.state.gov/bureaus-offices/deputy-

secretary-of-state/bureau-of-cyberspace-and-digital-policy/. The State Department has not

publicly stated, however, whether it has taken any measures—through this newly created Bureau

or otherwise—to advise or assist U.S.-based platforms in upholding democratic values against

foreign-state suppression of lawful expression.

       6.      To help the public learn more about whether and how the State Department advises

online platforms regarding foreign state influence over the development and enforcement of their

content moderation policies, the Knight First Amendment Institute at Columbia University

(“Plaintiff” or “Knight Institute”) submitted a FOIA request (“the Request”) to the State

Department on December 9, 2022. The Knight Institute has yet to receive any records or even a

response within the meaning of FOIA; the State Department has stated only that it does not

anticipate “complet[ing]” the Request until June 30, 2025.

       7.      The Knight Institute now files this suit because Defendant has failed to process and

release records responsive to the Request within the timeline mandated by FOIA. The Knight

Institute seeks the injunctive relief necessary to ensure Defendant’s timely compliance with

FOIA’s requirements.

                                 JURISDICTION AND VENUE

       8.      This Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B) and

28 U.S.C. § 1331.

       9.      Venue is proper in this district pursuant to 5 U.S.C. § 552(a)(4)(B).




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                                                      PARTIES

           10.      The Knight First Amendment Institute at Columbia University is a New York not-

for-profit corporation based at Columbia University that works to preserve and expand the

freedoms of speech and the press through strategic litigation, research, and public education.

Public education is essential to the Knight Institute’s mission. Obtaining information about

government activity, analyzing that information, and publishing and disseminating it to the press

and public are among the Knight Institute’s core activities. The Knight Institute is a “person”

within the meaning of 5 U.S.C. § 551(2).

           11.      Defendant State Department is a department of the executive branch of the U.S.

government and is an agency within the meaning of 5 U.S.C. § 552(f). The State Department has

possession and control over the requested records.

                                          FACTUAL ALLEGATIONS

                                                 The FOIA Request

           12.      On December 9, 2022, the Knight Institute submitted the Request to the State

Department seeking the following records:1

                 a. Correspondence between any online platform and the U.S. Department of State
                    regarding:
                         (i) the development or modification of the online platform’s jurisdiction-
                             specific content moderation policies;
                         (ii) any request made by a foreign state actor to the online platform to suppress
                              content on its services;
                         (iii) any request made by a foreign state actor to republish, amplify, or prioritize
                              content on its services; or
                         (iv) any specialized or exclusive process or mechanism through which a foreign
                             state actor can flag, or request that the online platform remove or demote,
                             specific user content or accounts.




1
    A true and correct copy of the Request is attached hereto as Exhibit A.


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             b. Correspondence between the U.S. Department of State and any foreign state actor
                regarding:
                     (i) the development or modification of the online platform’s jurisdiction-
                         specific content moderation policies;
                     (ii) any request made by a foreign state actor to republish, amplify, or prioritize
                          content on its services; or
                     (iii) any request made by a foreign state actor to republish, amplify, or prioritize
                          content on its services; or
                     (iv) any specialized or exclusive process or mechanism through which a foreign
                         state actor can flag, or request that the online platform remove or demote,
                         specific user content or accounts.
             c. All records relating to how the U.S. Department of State addresses communications
                from online platforms regarding foreign state efforts to influence their content
                moderation policies or enforcement actions, including but not limited to all
                manuals, memoranda, policies, procedures, practices, instructions, training
                materials, e-mails, handouts, and Powerpoint presentations that explain or provide
                guidance to U.S. Department of State personnel or online platform personnel.
             d. All records relating to foreign statutes or regulations that have been discussed,
                proposed, passed, or enacted by a foreign government intended to influence online
                platforms’ rules regarding expression of political dissent.
             e. All records related to any action taken by a foreign state or its representatives to
                pressure an online platform to sup- press lawful speech or to publish or promote
                speech favorable to the foreign government, including the use of any extralegal
                measures targeting the online platform.
             f.   All records indicating the number of cases in which the U.S. Department of State
                  directed, or otherwise provided guidance to, an online platform regarding the
                  platform’s compliance with any request by a foreign state actor to suppress speech
                  on the platform’s services, including but not limited to periodic datasets, logs,
                  and/or reports.

       13.        The Knight Institute requested expedited processing of the Request on the ground

that it is an organization “primarily engaged in disseminating information” and there is a

“compelling need” for the records sought because they contain information “urgent[ly]” needed

“to inform the public concerning actual or alleged Federal Government activity.” 5 U.S.C.

§ 552(a)(6)(E)(v)(II).

       14.        The Knight Institute requested a waiver of document search, review, and

duplication fees on the grounds that (a) disclosure of the requested records is in the public interest


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and is “likely to contribute significantly to public understanding of the operations or activities of

the government and is not primarily in the commercial interest of the requester,” id.

§ 552(a)(4)(A)(iii); (b) the Knight Institute is a “representative of the news media” within the

meaning of FOIA and the records are not sought for commercial use, id. § 552(a)(4)(A)(ii)(II); and

(c) the Knight Institute is an “educational . . . institution” whose purposes include “scholarly . . .

research” and the records are not sought for commercial use, id.

                                                  Agency Response

           15.      By email dated December 13, 2022, the State Department stated that it had received

the Request as of December 9, 2022, assigned the Request reference number F-2023-02663, and

placed the Request in the “complex processing track.”2 The State Department denied the Knight

Institute’s request for expedited processing and stated that it would make a determination regarding

Plaintiff’s request for a fee waiver at a later date. The State Department also stated that “Th[e]

Office will not be able to respond within the 20 days provided by the statute due to ‘unusual

circumstances,’” specifically “the need to search for and collect requested records from other

Department offices or Foreign Service posts.” The email informed the Knight Institute that it could

contact the FOIA Requester Service Center or FOIA Public Liaison if it “[has] any questions

regarding [the] request, would like to narrow the scope or arrange an alternative time frame to

speed its processing, or would like an estimated date of completion.”

           16.      On January 4, 2023, the Knight Institute sent an email to the State Department’s

FOIA Requester Service Center requesting an estimated date of completion for the Request.3 On

January 5, 2023, the State Department responded via email that the Request “is in process and has




2
    A true and correct copy of the email is attached hereto as Exhibit B
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    A true and correct copy of the email is attached hereto as Exhibit C.


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an estimated date of completion of June 30, 2025.”4 The email asserted that “the Department

currently has a backlog of FOIA requests and is working through it as quickly as possible.”

           17.      On January 23, 2023, the Knight Institute sent an email to the State Department’s

FOIA Requester Service Center inquiring whether it would “be possible to arrange an alternative

time frame for processing the request.” On January 24, 2023, the State Department responded via

email that “the Department processes requests on a first-in, first-out basis,” and that “the June 30,

2025, estimated date of completion (EDC) that was provided . . . is the date that was determined

for [the] request.”5 The State Department further stated that “EDCs are estimates and are subject

to change,” and that the Knight Institute “may possibly receive a response sooner.” Finally, the

State Department stated that “the current EDC is not based upon the ‘contents’ of [the] request. It

is based upon the Department’s current backlog of FOIA requests. Therefore, there will be a delay

in processing requests.”

           18.      To date, the State Department has not informed the Institute whether it has

responsive records, nor has it released any records responsive to the Request or adequately

explained its failure to do so.

           19.      Under FOIA, an agency has twenty working days to respond to a request. See 5

U.S.C. § 552(a)(6)(A)(i). If there are “unusual circumstances,” an agency may extend the time

limit by no more than ten working days. Id. § 552(a)(6)(B)(i).

           20.      More than 60 days have passed since the Knight Institute filed this Request. Thus,

these statutory time periods have elapsed, and Plaintiff has therefore adequately exhausted its

administrative remedies.




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    A true and correct copy of the email is attached hereto as Exhibit D.
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    A true and correct copy of the email is attached hereto as Exhibit E.


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                                     CAUSES OF ACTION

       21.     Defendant’s failure to grant Plaintiff’s request for expedited processing violates

FOIA, 5 U.S.C. § 552(a)(6)(E), and Defendant’s corresponding regulations.

       22.     Defendant’s failure to process the Request as soon as practicable violates FOIA, 5

U.S.C. § 552(a)(6)(E)(iii), and Defendant’s corresponding regulations.

       23.     Defendant’s failure to make and communicate a determination whether to comply

with the Request within the statutory time limit violates FOIA, 5 U.S.C. § 552(a)(6)(A)(i), and

Defendant’s corresponding regulations.

       24.     Defendant’s failure to make records responsive to the Request promptly available

violates FOIA, 5 U.S.C. § 552(a)(3)(A), (a)(6)(A), and Defendant’s corresponding regulations.

       25.     Defendant’s failure to grant Plaintiff’s request for a waiver of search, review, and

duplication fees violates FOIA, 5 U.S.C. § 552(a)(4)(A), and Defendant’s corresponding

regulations.

                                    PRAYER FOR RELIEF

       Plaintiff respectfully requests that this Court:

       A.      Order Defendant to conduct a thorough search for records responsive to Plaintiff’s

               request;

       B.      Order Defendant to immediately process and release any responsive records;

       C.      Award Plaintiff its reasonable costs and attorneys’ fees incurred in this action; and

       D.      Grant such other and further relief as the Court may deem just and proper.



 March 24, 2023                                       Respectfully submitted,

                                                       /s/ Alex Abdo
                                                      Alex Abdo



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